            D/c..

                                           United States District Court
                                             Western District of New York
                                                    100 Slate Street
                                               Rochester, New York 14614
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    Chambers ol"                                                                          Tel 58.S-61,4-4320
                                                                                          Fax ,38.3-61,3-4325
Elizabeth A. Wolforil
   District Judiie
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                                                                                 AUG 2 9 2019


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                                                August 29, 2019


   T. Scarantino, Complex Warden
   U.S. Department of Justice
    Federal Bureau of Prisons
    Federal Medical Center
    P.O. Box 1600
    Butner, North Carolina 27509-1600

                Re;       Donald Brennan, Register Number 28110-055

    Dear Warden Scarantino:

          I am writing in response to your letter dated August 19, 2019, regarding Donald
    Brennan, whom the Court has ordered be evaluated pursuant to the provisions of 18
    U.S.C. §§ 4246 and 4248. You have requested that the Court authorize commitment of
    Mr. Brennan for "the full study period [of 45 days] plus an additional 30 days," so that your
    staff can "provide the Court with a comprehensive evaluation." The Court is in receipt of
    a letter dated August 22, 2019, from counsel for Mr. Brennan, objecting to your request.
    A copy of this letter is enclosed.

           With respect to your request that the Court authorize "the full study period of 45
    days, the Court's Decision and Order dated August 8, 2018, in which it ordered that Mr.
    Brennan be evaluated pursuant to §§ 4246 and 4248, expressly found that "a 45-day
    [evaluation] period is reasonable[.]" {United States v. Brennan, 19-mr-2, Dkt. 37 at 8). In
    other words, the Court has already authorized a full 45-day initial period for the evaluation
    of Mr. Brennan.

                    Flowever, the Court agrees with Mr. Brennan's counsel that the request for a 30-
    day extension is premature, and denies it without prejudice for that reason. The Court
    will entertain a request for an extension made closer in time to the expiration of the 45-
    day initial period, which the Court calculates as September 23, 2019. Such a request
    should set forth in detail (1) the current status of the evaluation of Mr. Brennan,(2) the
    specific reasons why the evaluation could not be completed in the 45-day time period,
Complex Warden T. Scarantino
August 29, 2019
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and (3) the specific additional steps that need to be undertaken during the requested
extension. In order to afford the Court sufficient time to consider any such request, it
should be received at least seven (7)days before the expiration of the initial 45-day period
{i.e. by September 16, 2019).

       A copy of this letter will be filed in the underlying criminal action, and it will have
the effect of a Court order.




                                                           ly yours.




                                                  Elizab^ A.WVolford
                                                   tnlfia States District Judge



Enclosure
cc:    Paul E. Bonanno, Esq.(via CM/ECF filing)
       Frank R. Passafiume, Esq.(via CM/ECF filing)
       Martin J. Vogelbaum, Esq. (via CM/ECF filing)
